86 F.3d 1148
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Iszard BALLARD, Jr., Plaintiff-Appellant,v.Parris GLENDENING, Governor of the State of Maryland;Richard Lanham, Sr., Commissioner of Corrections;  EarlBeshears, Warden, E.C.I.;  Ralph Logan, Assistant Warden,E.C.I;  Lt. Cornelius;  R. White, Officer, CO II;  12 to 8Shift, Lt., Defendants-Appellees.
    No. 95-8530.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 16, 1996.Decided:  May 31, 1996.
    
      Iszard Ballard, Jr., Appellant Pro Se.  John Joseph Curran, Jr., Attorney General, Audrey J.S. Carrion, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      Before RUSSELL, LUTTIG and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Ballard v. Glendening, No. CA-95-1955-JFM (D.Md. Dec. 1, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    